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EXHIBIT kK
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ON ee ae NEW BUSINESS ACCOUNT
REGION: Central/North NJ (15) RC #: 4257 ACCOUNT NUMBER: a... IM 84004
TYPE OF ACCOUNT; TD Business Simple Checking TYPE CODE:

OPENED BY; Yanil Gonzalez DATE OPENED: 09/27/2016
BUSINESS NAME / MAILING ADDRESS: TIN: LEGAL ADDRESS: (No PO Boxes)

LUXURY HAUS LEONIA LLG 813962800 335 GRAND AVE
381 MAPLE STREET LEONIA NJ 07605
‘MOONACHIE NJ . ~_USA o7074
Verification: exec peumues If Existing Customer, Enter the RM Nurser 10 ee
Account Relationship: Corporation or LLC-w/Signers __

Additional Account Verification: Bj Business/Entity Documentation: Formation Docs & Resolution

IMPORTANT INFORMATION
Fodoral law r cult all fi jai Inatitutione te obtain, verify and record information that identifies each person who opens an account,
You, the undersigned. as autho: of the bush named above [the “Accounthalder’}, acknowledge recelpt of the Business Depost Accourl Agreemant, Bushess Schadule cf Charges and
Business Foe Schedule which govern nthe Ancounthaldas's ecoounls wilh TD Bank, NLA. (ihe “Bank"), Your signalure below and Ihe Accounthoders use of Ihe account shet evidenca Ine Accouniholders
geceptence of and agreement to be bound by the teams and concilione ae el forth in cha Business Deposil Accounl Ag of Chafges and: Business Fee Schedule, and any Addewda
Iharelo, as the same may be amended fam tinea te time.
Htyou, the undersigned are personally liable fov ihe Accountholder's obligalions with respect Lo the account {such as the 'S principalfs), Of quaranter(s)), you hereby authorize ihe Hank ta,
from time to time, request consumer reports. containing refarances about you from hind parties, Such a¢ & Consumer reporting agancy, In connection ‘with opening and mainaining ina accoure. I the gank decines
ois etharuiee uaa to open 2 deposi account as a resull of any information contained in such consumer reports), the Bank wit Ene FUR hotles contaning dala regarding lhe consumer reporling aganey as
require applicable
This saction does nol apply to U.S, non-resident aliens. Under penally of paqury, you, the undersigned, cartity thal:
1. Tha number shown on this fom ts the A 3 correct laxpayer idenlifi aumber (a! the Accounthoidar is waiting for a number to be issued to the Acccuntholder); and
2. The Accounlthalder ls not sutject to backup withholding because: {a) the Accountholdor ja exempt from backup wilhholding, or (bh) the Accountholder har not bean nolifed by the intemal Revenue
Service (IRS) that the Accountholdar is subject lo backup withholding a4 4 result of a faiiure to report alt intevosl of dividends, of (c} the IFS has nolified the Accounthokder thal the Accountholdar is no
langer subject to backup withholding: and

3. The Accounthobder js a U5. parson (including a U.S. resident allen), and
4, The Foreign Account Tax conilanes Act (FATGA) code entered on this form (if any} indicating that the paywa is exempt from FATCA reporting, la corract.

Cortiftcation Instructions. You mual croas oul item 2 above if the Accountholder has been nolified by the IRS thal the Accounthobiar is carenly suject to backup withholding because te Acccunthalder has

failed to rapor, all inlorest and dividends on the Accountholier's tax relum or for any othor reasan. For teal estate ransaciions, tem 2 does not apply. For merigage inlereat paid, acquisition or abandonraent of
loan reliremont ut (IRA) and, pay ‘olher ihan interest dividands, you are pol required te sign the Certification, bul you

a property, 3 of debi,
mus! provide the Aecountholder‘e correct TIN.
The internal Revenue Service does not require your or the Accountholder’s consent to any provision of this documant other than the cartifications required to avold backup withholding,

Relationship Consent

(1) By checking this box and signing below, you, . authorize the Bank to use the from {fast 4 digits of account number), your parsonal
checking account, to meel the bal ey on the A (holder's Business Convani Checking Plus er Busi Pramiar Chacklag Sea Susiness Deposit Account Agraement for
datails.
Authorized Representative(s)/Signer(s):
r 5 r 7

. tt eer a arte me co aa a

SS x

le L al
Signature Signature
PAUL GUTIERREZ _ go
Printed Name Printed Name
Date of Binh pate of Bith ee
Verification: _ Verification: __ a ee
if Existing Personal Customer, the Ri Number: es es — Hf Exlating Personal Customer, Enler tha RM Number:
Dale Signed: __ Date Signed:
r 7 r *
L a i a
Signature Signature
———— ~ Printed Name Printed Name medeeere Hank =
Date of Birth TN “Date of sith “TIN
Verification; _ = pean ee eae Verification: _ _ ee
It Existing Personal Gustomar, Enter Ihe RM Number: _ . _ if Existing Personal Customer, Enter ihe RM Number: _
Date Signet: an _ Date Signed:

Rev, 092016 | TO Bank, HA. Insltuctions far Store Term Members; Scan andemail io Account AMCB Ci New Business Accounts
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iy os NEW BUSINESS ACCOUNT

eh eas emilee eet

REGION; Cenfral/North NU(15) RC# 4257 ACCOUNT NUMBER: ie IM Sa008

TYPE OF ACCOUNT: TD Bus Convenience Plus Ckg TYPE CODE, ll
OPENED BY: Sonia E Correa DATE OPENED: tOMO/2017
BUSINESS NAME / MAILING ADDRESS: TIN: LEGAL ADDRESS; (No PO Boxes)
LUXURY HAUS LEONIA LLC 813962800 335 GRAND AVE
361 MAPLE ST / __ LEONA NJ 07605
MOONACHIE, NU USA 07074

Verification: If Existing Customer, Enter the RM Number: a

Account Relationship: CorporationorLiC-wSigners ee
Additional Account Verification: ><] Business/Entity Documentation: Formation Ci & Reese

IMPORTANT INFORMATION

Federal law requires all financial institutions to obtain, verify end record Information that identifies each person who opens an account
You, the undersigned og authonzed representsiive(a) of the business named above (the “Accountholdar*), acknowledge receipt of the Business Depest Accours Agraamant, Fusness Sckedvie of Charges and
Susinees Goo Schedule which govemn the Accounthoider's accounts with TD Bank, N.A (the “Bank, Your signature below and the Accountholders vse of the accounl shai evidence tha Accounthokie’s
acceptance of and egreemers fo be bound by the tenns and conditions as set forth in tne Business Deposit Account Agraament, furinsss Schedule ct Charges and Business Fee Schedule, and any Adcenda
hereto, as the samo may be amended from tina te tine,
Wyou, thaurdersigned are personally liable for the Acccunthalder's obligations with respect to the account (such as the Accountholders pnmapals), owner(s) of Guarantor(s)), you hereby authorize lhe Gank to.
from time to ting, aquest consumer reports containing references about you from ‘thied partes, such as @ consumer reporting agency, in connection with opaning and maintaining the accoun if the Bank declines
ois otharwita unate ta aoen a dapost accounl ag a pasult of any in suc reporljs}, the Bank will provide such rolice conaining dala regarding the consumer raparing agency as
required by applicable faw.
‘This section dees nat apply to U.S. nonfesidest aliens. Under penally of perjury, you, the undersigned, cartify that
1. Tha number shown on thie form is the Accounihoider's correct lamayer identification qumber (or the Accountholder is wailing for a number to ba lssued to the Accounthoide); and
2 The Accountholder is not subject to backup withhold fa} the Acco ip exempt from Deckup withholding, or (b) the Accounthoider has nat ceen nolited by the Internal Revenie
Service (IRS) thal the Accounthoider ts subject Wo backup vdlhholeing 2s a resutt of 2 failure {o report ail interest or dividends, or (c}) the [RS Nas notified the Accounthoser that the Accourahoider is no
longer subject to backup withholding: and
3. The Ascountholoer ib 3 U.S, person (inckeding ¢ U.S, residenl ellen}. avd
4, The Foresight Account Tax Compliance Act (FATCA) code entered an ints tor (i any} iIndicaling that ihe payee is sxempl fram FATCA reporting, is comect.
Certification Instructions. You must cross oul tem 2 sbove if the Accountholder has been notified by the IR6 that the Accountholier is currantly sublec! to backup withholding Decouse ihe Accounthokier has
failed to report all iteresl and divéidescs on the Accountheider's lax relum or for any other reason, For real estate transacions, fam 2doss not apply. For morgage interest pad, acquistilan or abendonment of

secured procevly, cancellations of debt coniribuons to an inalvidwal reth at (IRA) and, o ily, payments other than interest and dividends, you are nat required lo sign the Certification, bul you
musl provide the Accounlhotder’s correct TIN,

The Internal Revenue Service doos not require your or the Accountholder’s it to any provision of this d other than the certifications required to avold backup withholding.
Relationship Consent

(1 By checking this box and signing below, you, authorize the Bank lo use the balance from (last 4 digits of account number), your personal

— account, fo meet the balance requirement on the Accountholder's Business Convenience Checking Plus or Business Premier Checking account. See Business Deposit Account Agrsement for
detalls.
Authorzed Representative(s)/Signer{s):

r a r "
orients
qos —_— ees
—e—— cae _ ane
a L 4
Signature Signature
PAUL GUTIERREZ _ .
Printed Name .—E Printed Name
TIN —" Date of Birth TIN
Verification: Verification: - a= ==

if Existing Personal ‘ omer, Erniter the RM Number: SS If Existing Personal Customer, Enter the RM Number:

me Signes: N > x ae ee aes Date Signed:

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L a L I
Signature Signature
Printed Name Printed Name. ———
“DateofBinh = TIN Date of Birth a ae
Varificatian: — Verification: _ . sedate camel
I Exis'ing Personal Customer, Enter the RM Number: if Existing Personal Customer, Enter iha RM Number
Dale Signed: vs DateSigned oo

Rev, 08/2016 | TD Bank, NA Instructions far Store Team Memoers: Scan andemall to Account, AMC CiF New Business Agro nts
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